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 7   Attorneys for PLAINTIFF
     PAUL HOA
 8
 9
10                     UNITED STATES DISTRICT COURT
11                  NORTHERN DISTRICT OF CALIFORNIA
12
13   PAUL HOA, an individual.               Case No. 3:12-cv-02078-EMC
14                     Plaintiff,
15
     vs.                                    SECOND AMENDED
16                                          COMPLAINT FOR DAMAGES
     MATHEW CATE, in his individual,        AND DEMAND FOR JURY
17
     capacity; MICHAEL MARTEL, in           TRIAL
18   his individual capacity; TERRI
     MCDONALD, in his individual            COUNT I: ACTION UNDER 42
19   capacity; BRYAN BEYER, in his          U.S.C. §1983 FOR DELIBERATE
20
     individual capacity; KATHLEEN          INDIFFERENCE;
     DICKINSON, in her individual           COUNT II: ACTION UNDER 42
21   capacity; MICHAEL STAINER, in          U.S.C. §1983 FOR CRUEL AND
     his individual capacity; JEFF          UNUSUAL PUNISHMENT;
22   MACOMBER, in his individual            COUNT III: NEGLIGENCE;
23
     capacity; ROBERT CALDERON, in          COUNT IV: NEGLIGENT
     his individual capacity; MICHAEL       SUPERVISION;
24   MARTEL, in his individual capacity;    COUNT V: NEGLIGENT
     M. FOSS, in his individual capacity;   TRAINING.
25   K. LUTRELL, in his individual
26   capacity; RAYMOND
     MATTEUCCI, in his individual
27   capacity; RICHARD RILEY, in his
     individual capacity; THOMAS
28   ALIOTTO, in his individual capacity;
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                            SECOND AMENDED COMPLAINT
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 1   GEORGE MOON, in his individual
     capacity; RONALD CHAN, in his
 2   individual capacity; TAMMY FOSS,
 3   in her individual capacity; M.
     CHIRILA, in his individual capacity;
 4   W. RODRIGUEZ, in his individual
     capacity; DAVID MOORE, in his
 5   individual capacity; DAVID F.
 6   LOPEZ , an individual; T.
     GREGORY STAGNITTO, an
 7   individual;; BRIDGE TRANSPORT,
     an entity of unknown form; STAG
 8   LEASING, INC., a California
 9   corporation; and DOES 1 to 20,
     Inclusive.
10
                        Defendants.
11
12
13
                         SECOND AMENDED COMPLAINT
14
15         COMES NOW PLAINTIFF, PAUL HOA (“Plaintiff”), by and through

16   undersigned counsel, files this Second Amended Complaint against
17   DEFENDANTS: MATHEW CATE, in his individual capacity; MICHAEL
18
     MARTEL, in his individual capacity; TERRI MCDONALD, in his individual
19
     capacity; BRYAN BEYER, in his individual capacity; KATHLEEN
20
21   DICKINSON, in her individual capacity; MICHAEL STAINER, in his individual
22   capacity; JEFF MACOMBER, in his individual capacity; ROBERT CALDERON,
23   in his individual capacity; MICHAEL MARTEL, in his individual capacity; M.
24
     FOSS, in his individual capacity; K. LUTRELL, in his individual capacity;
25
     RAYMOND MATTEUCCI, in his individual capacity; RICHARD RILEY, in his
26
27   individual capacity; THOMAS ALIOTTO, in his individual capacity; GEORGE
28   MOON, in his individual capacity; RONALD CHAN, in his individual capacity;

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                             SECOND AMENDED COMPLAINT
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 1
     TAMMY FOSS, in her individual capacity; M. CHIRILA, in his individual
 2
     capacity; W. RODRIGUEZ, in his individual capacity; DAVID MOORE, in his
 3
 4   individual capacity; (“Collectively “State Defendants”) and DEFENDANTS:
 5   DAVID F. LOPEZ , an individual; T. GREGORY STAGNITTO (“Stagnitto”), an
 6
     individual; MICHAEL MARTEL (“MARTEL”), an individual; BRIDGE
 7
     TRANSPORT (“BT”), an entity of unknown form; STAG LEASING, INC., a
 8
     California corporation (Collectively “Non-State Defendants”); and DOES 1 to 20,
 9
10   Inclusive, and in support thereof states the following on information and belief:
11                    PRELIMINARY STATEMENT AND PARTIES
12
           1.     Defendant MATTHEW CATE ("CATE") is the Former Secretary of
13
     the California Department of Corrections and Rehabilitations. He is sued in his
14
15   individual capacity. The CDCR is responsible for the operations of the California

16   state prison system. As the secretary, CATE is responsible for the operation of all
17   the prison facilities, including the area used to load and unload goods containing
18
     the loading dock of the Prison, and is personally responsible for the policies of the
19
     personal safety of prisoners in their assigned work duties at the Prison. He is
20
21   under a legal obligation to provide and maintain a safe and healthful workplace;

22   was required to establish, implement, and maintain an injury prevention program;
23   to assign responsibilities to persons for the prevention of injuries; to establish a
24
     system of communicating matters related to workplace safety; to inspect, assess
25
     and control existing or potential hazards; to allocate resources for the prevention
26
27   of workplace injury; to document injuries and assessment of hazards; and to
28   survey their workplace taking into consideration history of accidents, current

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 1
     safety standards, and safe work practices.
 2
           2.     Defendant Terri McDonald ("McDonald") is or was the
 3
 4   Undersecretary of Operations of the California Department of Corrections and
 5   Rehabilitations. McDonald is sued in McDonald’s individual capacity. The
 6
     CDCR is responsible for the operations of the California state prison system. As
 7
     the Undersecretary of Operations for CDCR, McDonald is responsible for the
 8
     operation of all the prison facilities, including the area used to load and unload
 9
10   goods containing the loading dock of the Prison as it relates with inmate safety,
11   and is personally responsible for the policies that disregards the personal safety of
12
     prisoners in their assigned work duties at the Prison. McDonald is under under a
13
     legal obligation to provide and maintain a safe and healthful workplace; was
14
15   required to establish, implement, and maintain an injury prevention program; to

16   assign responsibilities to persons for the prevention of injuries; to establish a
17   system of communicating matters related to workplace safety; to inspect, assess
18
     and control existing or potential hazards; to allocate resources for the prevention
19
     of workplace injury; to document injuries and assessment of hazards; and to
20
21   survey their workplace taking into consideration history of accidents, current

22   safety standards, and safe work practices.
23         3.     Defendant Bryan Beyer ("BEYER") is or was the Deputy Director of
24
     Court Compliance for the California Department of Corrections and
25
     Rehabilitations. BEYER is sued in his individual capacity. The CDCR is
26
27   responsible for the operations of the California state prison system. As the Deputy
28   Director of Court Compliance for CDCR, Beyer is responsible for the operation of

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 1
     all the prison facilities, including the area used to load and unload goods
 2
     containing the loading dock of the Prison as it relates with inmate safety, and is
 3
 4   personally responsible for the policies that disregards the personal safety of
 5   prisoners in their assigned work duties at the Prison as it relates to the Court
 6
     compliance.
 7
           4.      Defendant Kathleen Dickinson ("Dickinson") is or was the Deputy
 8
     Director of Facility Support and Adult Institutions for the California Department
 9
10   of Corrections and Rehabilitations. Dickinson is sued in her individual capacity.
11   The CDCR is responsible for the operations of the California state prison system.
12
     As the Deputy Director for Facility Support and Adult Institutions for CDCR,
13
     Dickinson is responsible for the operation of all the prison facilities, including the
14
15   area used to load and unload goods containing the loading dock of the Prison as it

16   relates with inmate safety, and is personally responsible for the policies that
17   disregards the personal safety of prisoners in their assigned work duties at the
18
     Prison. She is under a legal obligation to provide and maintain a safe and
19
     healthful workplace; was required to establish, implement, and maintain an injury
20
21   prevention program; to assign responsibilities to persons for the prevention of

22   injuries; to establish a system of communicating matters related to workplace
23   safety; to inspect, assess and control existing or potential hazards; to allocate
24
     resources for the prevention of workplace injury; to document injuries and
25
     assessment of hazards; and to survey their workplace taking into consideration
26
27   history of accidents, current safety standards, and safe work practices.
28         5.      Defendant Michael Stainer ("STAINER") is or was the Associate

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 1
     Director of Facility Operations for the California Department of Corrections and
 2
     Rehabilitations. STAINER is sued in his individual capacity. The CDCR is
 3
 4   responsible for the operations of the California state prison system. As the
 5   Associate Director of Facility Operations for CDCR, STAINER is responsible for
 6
     the operation of all the prison facilities, including the area used to load and unload
 7
     goods containing the loading dock of the Prison as it relates with inmate safety,
 8
     and is personally responsible for the policies that disregards the personal safety of
 9
10   prisoners in their assigned work duties at the Prison. He is under a legal
11   obligation to provide and maintain a safe and healthful workplace; was required to
12
     establish, implement, and maintain an injury prevention program; to assign
13
     responsibilities to persons for the prevention of injuries; to establish a system of
14
15   communicating matters related to workplace safety; to inspect, assess and control

16   existing or potential hazards; to allocate resources for the prevention of workplace
17   injury; to document injuries and assessment of hazards; and to survey their
18
     workplace taking into consideration history of accidents, current safety standards,
19
     and safe work practices.
20
21         6.     Defendant Jeff Macomber ("MACOMBER") is or was the Assistant

22   Director of Operation Support for the California Department of Corrections and
23   Rehabilitations. MACOMBER is sued in his individual capacity. The CDCR is
24
     responsible for the operations of the California state prison system. As the
25
     Assistant Director of Operation Support for CDCR, MACOMBER is responsible
26
27   for the operation of all the prison facilities, including the area used to load and
28   unload goods containing the loading dock of the Prison as it relates with inmate

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 1
     safety, and is personally responsible for the policies that disregards the personal
 2
     safety of prisoners in their assigned work duties at the Prison. He is under a legal
 3
 4   obligation to provide and maintain a safe and healthful workplace; was required to
 5   establish, implement, and maintain an injury prevention program; to assign
 6
     responsibilities to persons for the prevention of injuries; to establish a system of
 7
     communicating matters related to workplace safety; to inspect, assess and control
 8
     existing or potential hazards; to allocate resources for the prevention of workplace
 9
10   injury; to document injuries and assessment of hazards; and to survey their
11   workplace taking into consideration history of accidents, current safety standards,
12
     and safe work practices.
13
           7.     Defendant Robert Calderon ("CALDERON") is or was the Director
14
15   of Office of Policy Standardization for the California Department of Corrections

16   and Rehabilitations. CALDERON is sued in his individual capacity. The CDCR
17   is responsible for the operations of the California state prison system. As the
18
     Director of Office of Policy Standardization for CDCR, CALDERON is
19
     responsible for the policy and procedures related with the operation of all the
20
21   prison facilities, including the area used to load and unload goods containing the

22   loading dock of the Prison as it relates with inmate safety, and is personally
23   responsible for the policies that disregards the personal safety of prisoners in their
24
     assigned work duties at the Prison. He is under a legal obligation to provide and
25
     maintain a safe and healthful workplace; was required to establish, implement,
26
27   and maintain an injury prevention program; to assign responsibilities to persons
28   for the prevention of injuries; to establish a system of communicating matters

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 1
     related to workplace safety; to inspect, assess and control existing or potential
 2
     hazards; to allocate resources for the prevention of workplace injury; to document
 3
 4   injuries and assessment of hazards; and to survey their workplace taking into
 5   consideration history of accidents, current safety standards, and safe work
 6
     practices.
 7
           8.     Defendant Michael Martel (“MARTEL”) is or was the Warden at San
 8
     Quentin when the Plaintiff was injured. Based on Plaintiff’s information and
 9
10   belief, MARTELL, who is sued in his individual capacity, is responsible for the
11   safety of all inmate programs and inmates. He failed to implement any policies
12
     and procedures regarding inmate safety at the dock.
13
           9.     Defendant M. Foss (“MFOSS”) is or was the Associate Warden at
14
15   San Quentin when the Plaintiff was injured. Based on Plaintiff’s information and

16   belief, FOSS, who is sued in his individual capacity, is responsible for the safety
17   of all inmate programs and inmates. MFOSS is responsible to ensure that there
18
     are policies and procedure in place for inmate safety for all inmate work programs.
19
           10.    Defendant W. Rodriguez (“RODRIGUEZ”) is or was the Chief
20
21   Deputy Warden at San Quentin when the Plaintiff was injured. Based on

22   Plaintiff’s information and belief, RODRIGUEZ, who is sued in his individual
23   capacity, is responsible for the safety of all inmate programs and inmates.
24
     RODRIGUEZ is responsible to ensure that there are policies and procedure in
25
     place for inmate safety for all inmate work programs.
26
27         11.    Defendant Tammy Foss (“TFOSS”) is or was the Business Manager
28   II at San Quentin when the Plaintiff was injured. Based on Plaintiff’s information

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 1
     and belief, TFOSS, who is sued in her individual capacity, is responsible for the
 2
     safety of all inmate programs and inmates and oversees these programs as the
 3
 4   Business Manager. TFOOS is responsible to ensure that there are policies and
 5   procedure in place for inmate safety for all inmate work programs.
 6
           12.    . Defendant M. Chirila (“CHIRILA”) is or was the Facility Captain at
 7
     San Quentin when the Plaintiff was injured. Based on Plaintiff’s information and
 8
     belief, CHIRILA, who is sued in her individual capacity, is responsible for the
 9
10   safety of all inmate programs and inmates and oversees these programs as the
11   Loading Dock facility. CHIRILA is responsible to ensure that the inmates are
12
     properly trained and equipped to perform their services.
13
           13.    Defendant Raymond Matteucci (“MATTEUCI”) is or was the
14
15   Supervisor at San Quentin when the Plaintiff worked. Based on Plaintiff’s

16   information and belief, MATTEUCI, who is sued in his individual capacity, is one
17   of the supervisors that is responsible for the safety of all inmates in the work
18
     programs and trains and educates them to do their job. The supervisor also takes
19
     any complaints from the inmates and ensures that the proper person is informed of
20
21   the complaint. The supervisors duty and responsible is to ensure that the inmate is

22   safe and properly conducting their work.
23         14.    Defendant Thomas Aliotto (“ALIOTTO”) is or was the Supervisor at
24
     San Quentin when the Plaintiff worked. Based on Plaintiff’s information and
25
     belief, ALIOTTO, who is sued in his individual capacity, is one of the supervisors
26
27   that is responsible for the safety of all inmates in the work programs and trains
28   and educates them to do their job. The supervisor also takes any complaints from

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 1
     the inmates and ensures that the proper person is informed of the complaint. The
 2
     supervisors duty and responsible is to ensure that the inmate is safe and properly
 3
 4   conducting their work.
 5         15.    Defendant George Moon (“MOON”) is or was the Supervisor at San
 6
     Quentin when the Plaintiff worked. Based on Plaintiff’s information and belief,
 7
     MOON, who is sued in his individual capacity, is one of the supervisors that is
 8
     responsible for the safety of all inmates in the work programs and trains and
 9
10   educates them to do their job. The supervisor also takes any complaints from the
11   inmates and ensures that the proper person is informed of the complaint. The
12
     supervisors duty and responsible is to ensure that the inmate is safe and properly
13
     conducting their work.
14
15         16.    Defendant Ronald Chan (“CHAN”) is or was the Supervisor at San

16   Quentin when the Plaintiff worked. Based on Plaintiff’s information and belief,
17   CHAN, who is sued in his individual capacity, is one of the supervisors that is
18
     responsible for the safety of all inmates in the work programs and trains and
19
     educates them to do their job. The supervisor also takes any complaints from the
20
21   inmates and ensures that the proper person is informed of the complaint. The

22   supervisors duty and responsible is to ensure that the inmate is safe and properly
23   conducting their work.
24
           17.    Defendant David Moore (“MOORE”) is or was the Supervisor at San
25
     Quentin when the Plaintiff worked. Based on Plaintiff’s information and belief,
26
27   MOORE, who is sued in his individual capacity, is one of the supervisors that is
28   responsible for the safety of all inmates in the work programs and trains and

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 1
     educates them to do their job. The supervisor also takes any complaints from the
 2
     inmates and ensures that the proper person is informed of the complaint. The
 3
 4   supervisors duty and responsible is to ensure that the inmate is safe and properly
 5   conducting their work.
 6
           18.    Defendant Richard Riley (“RILEY”) is or was the Procurement and
 7
     Services Officer II at San Quentin when the Plaintiff worked. Based on Plaintiff’s
 8
     information and belief, RILEY, who is sued in his individual capacity, is one of
 9
10   the Officers that is responsible for the safety of all inmates in the work programs
11   and ensures they are complying with the law. The Officer also takes any
12
     complaints from the inmates and ensures that the proper person is informed of the
13
     complaint.
14
15         19.    Defendant K. Lutrell (“LUTRELL”) is or was a Correctional Officer

16   at San Quentin when the Plaintiff worked. Based on Plaintiff’s information and
17   belief, LUTRELL, who is sued in his individual capacity, is one of the
18
     Correctional Officers that is responsible for the safety of all inmates in the work
19
     programs and ensures they are complying with the law. The Correctional Officer
20
21   also takes any complaints from the inmates and ensures that the proper person is

22   informed of the complaint.
23         20.    Defendant David Lopez ("LOPEZ") was a resident in the City of
24
     Oakdale, Stanislaus County. At the time of this incident, Plaintiff is informed and
25
     believes, that Defendant Lopez was an employee of Defendant Stagnitto,
26
27   Defendant Stagnitto is an individual doing business as Bridge Transport.
28         21.    Defendant T. GREGORY STAGNITTO ("STAGNITTO") was at all

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 1
     relevant times an individual, residing in the Marin County, doing business under
 2
     the fictitious business name of "Bridge Transport."
 3
 4         22.      Plaintiff is informed and believes, that at all relevant times, BRIDGE
 5   TRANSPORT (“BT”), an entity of unknown form, was a contracting party
 6
     authorized and approved by CDCR and the Prison, providing services and acting
 7
     in accordance with the policy and directives of defendants CDCR and the Prison.
 8
           23.      Plaintiff is informed and believes, that at all relevant times, STAG
 9
10   LEASING, INC. ("SL"), was a corporation formed and existing under the laws of
11   the State of California. Plaintiff is informed and believes that SL was a
12
     contracting party authorized and approved by CDCR and the Prison, providing
13
     services and acting in accordance with the policy and directives of defendants
14
15   CDCR and the Prison.

16         24.      This is an action to recover damages for violations of the Plaintiff's
17   constitutional rights by state agencies, acting under the color of law, and their
18
     contractors.
19
            SATISFACTION OF GOVERNMENT CODE REQUIRMENTS
20
21         25.      Plaintiff has complied with the requirements of Government Code

22   §§905 et seq. This action is filed within six months of the date of rejection of
23   Plaintiff's claim. See Right to Sue attached hereto and marked as Exhibit "A".
24
                                JURISDICTION AND VENUE
25
           26.      This is a civil action seeking damages for a violation of civil rights
26
27   by the Defendants based on a federal question with accompanying state law
28   claims. (42 U.S.C. Section 1983, et seq.; 17 U.S.C. Sections 1331 and

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 1
     1343(1)(3)(4))
 2
           27.     This Court has jurisdiction under 17 U.S.C. section 101, et seq.; 28
 3
 4   U.S.C. section 1331 and 1376 (Federal Question and Supplemental Jurisdiction).
 5         28.     This Court has personal jurisdiction over defendants in the many of
 6
     the acts complained herein occurred in the State of California and in this District.
 7
           29.     Venue in this District is proper under 28 U.S.C. section 1391(b) and
 8
     (c). The acts of complained upon herein occurred in the State of California and
 9
10   this District. In addition certain defendants reside and are doing business in the
11   State of California and this district.
12
           30.     Venue is proper in the Northern District of California with respect to
13
     Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
14
15   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,

16   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL, SL, and
17   Lopez.
18
           31.     Plaintiff has performed all conditions precedent to the
19
     commencement of this action or they have occurred, including filing and serving
20
21   notice of claim in compliance with state Government torts claims act as well as

22   naming the individual defendants (in their non-state capacity) and the non-state
23   defendants.
24
                               STATEMENT OF THE CASE
25
           32.     Plaintiff was convicted of a nonviolent drug related felony in the San
26
27   Francisco County Superior Court. He was sentenced to 8 years at Prison, was a
28   model inmate and was expected to be released on parole in April of 2012.

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 1
           33.    Plaintiff suffered catastrophic injuries, including severed spinal cord
 2
     damage, deep lacerations, fractured and crush bone damage, lacerated and crush
 3
 4   damage to soft tissue and major organs, and damage to his lungs, leaving him on
 5   ventilation machine and permanently disabled and immobile, and continues to
 6
     suffer and endure catastrophic, life threatening, debilitating, severe, and traumatic
 7
     injuries. Plaintiff is currently immobilized and suffers loss of use of all of his
 8
     limbs and is assisted by ventilator to breathe.
 9
10         34.    These injuries were suffered as a nonviolent inmate waiting parole at
11   SAN QUENTIN STATE PRISON ("Prison") facility maintained and operated by
12
     CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
13
     ("CDCR") .
14
15         35.    Plaintiff is informed and believes that Defendants DAVID LOPEZ

16   ("LOPEZ"), T. GREGORY STAGNITTO ("STAGNITTO"), BRIDGE
17   TRANSPORT (“BT”), and STAG LEASING, INC. ("SL") (collectively, the "non-
18
     state defendants"), were private parties contracted by the state defendants, the
19
     CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
20
21   MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,

22   ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL, or alternatively all of
23   them, to provide truck and trailer with delivery services to CDCR. Accordingly,
24
     COUNTS III, IV, and V, for tort claims of negligence, negligent supervision, and
25
     negligent training are directed at these non-state defendants only.
26
27         36.    The Prison located at San Quentin, California, in the County of
28   Marin, and is one of many facilities maintained and operated by CDCR, that

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 1
     currently houses inmates at double the capacity the facilities were designed to
 2
     house in long term custodial detention. The Prison built in 1852 with a design
 3
 4   capacity to hold 3,082 inmates, as of December 2008, had a total population of
 5   5,256 for occupancy in excess of 170 percent of the design capacity.
 6
            37.    The Prison, in order to supply its overcrowded inmate population
 7
     uses several make-shift loading docks that do not use an elevated platform to keep
 8
     workers on a different elevation that the trucks delivering goods. Rather, the
 9
10   Prison uses several elevated ramp that permit forklifts to ride up a ramp and into a
11   trailer that is driven in reverse up to the elevated ramp. The trailers must have its
12
     doors open because the trailer rear must touch the edge of the elevated ramp to
13
     permit the forklifts to travel over and into the trailer.
14
15          38.    These trailers deliver essential supplies of food, water, and disposable

16   supplies for the inmates and staff living and working in the Prison, including the
17   Plaintiff.
18
            39.    The loading docks and the method of delivering supplies to the
19
     Prison has not grown to meet the explosion of inmate population, and this
20
21   operational feature has suffered directly from overcrowding as all other areas of

22   the Prison.
23          40.    Based on information and belief, the Prison through the acts of
24
     CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
25
     MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
26
27   ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL have deliberately
28   failed to provide the proper funding to update the loading docks and the method of

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                                SECOND AMENDED COMPLAINT
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 1
     delivery to protect the inmate safety.
 2
           41.    Based on information and belief, these named defendants CATE,
 3
 4   McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
 5   MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
 6
     ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL made a selection that
 7
     moneys would not be spent on inmate safety at the loading dock but would be
 8
     spent on additional prison guards and uniforms.
 9
10                   The Prison Procedures at Plaintiff's Workplace.
11         42.    In Prison, inmates are assigned work based on their risk factor and
12
     behavior in prison. During the time Plaintiff was in prison, Plaintiff was
13
     considered a good inmate with no demerits, and considered a low risk factor.
14
15         43.    Accordingly, Plaintiff was assigned to work the loading docks, which

16   provides limited access to the outside prison walls, where the loading are located
17   and a small degree of independent movement along the established parameters of
18
     the ground level of the loading dock where trucks and trailer travel without any
19
     other person directing or slowing vehicle traffic.
20
21         44.    Trailers containing the necessary supplies used by the Prison are

22   unloaded after the trailer doors are opened. Depending on the truck at issue the
23   loading of the trailers may have different methods.
24
           45.    Trucks are required to reverse up to the loading dock so that pallets
25
     can be removed by ramp using forklifts or pallet movers. However, depending on
26
27   the type of trailer doors contained on the trailer they are either opened before the
28   truck is reversed to the loading dock or opened at the loading dock.

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 1
           46.    Plaintiff was not trained as to these methods prior to working at the
 2
     loading dock. There was no training provided to the Plaintiff as to these methods
 3
 4   prior to working.
 5         47.    Based on information and belief, Plaintiff alleges that training was
 6
     not provided because there was deliberate indifference as to inmate safety.
 7
           48.    Based on information and belief, Plaintiff alleges that there was a or
 8
     several meetings that was comprised with McDonald, BEYER, Dickinson,
 9
10   MACOMBER, STAINER, CALDERON, MARTEL regarding inmate safety
11   regarding work at the loading dock to discuss including but not limited training,
12
     policies and procedures, qualifications for inmates, equipment to perform job
13
     duties, condition of the loading dock, and the Court Compliance Order.
14
15         49.    Based on information and belief, Plaintiff alleges that McDonald,

16   BEYER, Dickinson, MACOMBER, STAINER, CALDERON, MARTEL,
17   MFOOS, RODRIGUEZ, determined that no changes were necessary even though
18
     they were aware that there were no polices an procedures, no training for loading
19
     and unloading forklifts, and cost issues.
20
21         50.    Based on information and belief, Plaintiff alleges that the decision

22   reached by McDonald, BEYER, Dickinson, MACOMBER, STAINER,
23   CALDERON, MARTEL, MFOOS, RODRIGUEZ was ratified and endorsed by
24
     CATE.
25
           51.    Based on information and belief, Plaintiff alleges that several
26
27   individuals, including the Plaintiff, complained to MATTEUCI, ALIOTTO,
28   CHIRILA, MOON, CHAN, MOORE, RILEY, LUTRELL that it was unsafe that

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 1
     they should be provided additional training.
 2
            52.    Based on information and belief, Plaintiff alleges that MATTEUCI,
 3
 4   ALIOTTO, CHIRILA, MOON, CHAN, MOORE, RILEY, LUTRELL, TFOOS,
 5   RODRIGUEZ, MFOOS, MARTEL did not provide the necessary training because
 6
     they felt that the inmates did not need it and were carrying out the directives of
 7
     McDonald, BEYER, Dickinson, MACOMBER, STAINER, CALDERON,
 8
     MARTEL and CATE.
 9
10          53.    Based on information and belief, Plaintiff alleges and believes that
11   MATTEUCI, ALIOTTO, CHIRILA, MOON, CHAN, MOORE, RILEY,
12
     LUTRELL, TFOOS, RODRIGUEZ, MFOOS, MARTEL deliberately did not
13
     provide the training because their safety was not a concern to them.
14
15          54.    Based on information and belief, Plaintiff and the other inmates make

16   this belief based on the fact that they were told, by MATTEUCI, ALIOTTO,
17   CHIRILA, MOON, CHAN, MOORE, RILEY, LUTRELL, they could not speak
18
     with anyone about their worries and that they could not even speak with driver’s
19
     of the commercial vehicles when they backed up the vehicles to the dock. In
20
21   essence, the inmates were told to stay quiet.

22          55.    There are no mirrors for drivers to check the large blindside in the
23   rear of the trailers.
24
            56.    Commercial companies are contracted to supply goods at the Prison.
25
     These goods are brought to the Prison by trailer trucks by outside commercial
26
27   companies.
28          57.    Because of the lack of modern loading docks the Prison loading

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 1
     docks are used at a high frequency, relatively high speed up to the loading dock
 2
     and out of the area, many times a day, and drivers are not permitted to open their
 3
 4   windows or to exit their vehicle, and the trucks leave their engine on throughout
 5   the process of delivering goods.
 6
           58.    Based on information and belief, it was a deliberate choice by the
 7
     Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
 8
     CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,
 9
10   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL to keep
11   the loading dock in its condition because these Defendants made an election that
12
     inmate safety is not priority knowing they were doing a dangerous job and that
13
     they were at risk for a serious injury because they were inmates.
14
15         59.    Trailer trucks will be inspected by guards at or near the Prison

16   entrance as they enter and exit the Prison.
17         60.    Once the trailer trucks are in the warehouse area, there are no video
18
     surveillance cameras or prison guards in the area where the trucks are unloaded.
19
           61.    The area is covered by gravel and the elevated ramp permits forklifts
20
21   to drive into the trailers to unload cargo quickly.

22         62.    Plaintiff alleges the only training they received, which is contested,
23   was the operation of the forklift.
24
           63.    There are devices used to slow vehicles down and no use of any
25
     equipment to limit or prevent movement of the trucks, such as inexpensive chocks
26
27   or wooden wedges for the wheels. These devices did not exist at the Prison.
28         64.    Plaintiff alleged based on his information and belief, that Defendants

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 1
     CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
 2
     MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
 3
 4   ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL made a conscience
 5   choice not provide the inmates who work at the loading dock with chocks or
 6
     wooden wedges as they were not necessary for the inmates to the do job. These
 7
     defendants made a deliberate election that inmate safety concern was not
 8
     important.
 9
10         65.    In fact, Plaintiff alleges on his information and belief, other inmates,
11   including himself, inquired about the chocks and wooden wedges with
12
     MATTEUCI, ALIOTTO, CHIRILA, MOON, CHAN, MOORE, RILEY,
13
     LUTRELL and were told that it does not make a difference and do not ask.
14
15         66.    Inmate work is supervised by MATTEUCI, ALIOTTO, CHIRILA,

16   MOON, CHAN, MOORE, RILEY, LUTRELL, who are not CALIFORNIA or
17   Prison employees, but contractors hired by the state of CALIFORNIA, the Prison,
18
     or CDCR. These supervisors work according to guidelines and policies developed
19
     and enforced by the state defendants specifically: McDonald, BEYER, Dickinson,
20
21   MACOMBER, STAINER, CALDERON, MARTEL, MFOOS, RODRIGUEZ,

22   and TFOOS.
23         67.    Plaintiff alleges on his information and belief, there are no policies
24
     developed as it relates to inmate safety for the loading dock.
25
           68.    Plaintiff alleges on his information and belief, the reason why there
26
27   are no policies and procedures in place as it relates to inmate safety on the loading
28   dock is based on the fact that the Defendants CATE, McDonald, BEYER,

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 1
     Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
 2
     RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
 3
 4   MOORE, RILEY, LUTRELL are deliberately indifferent about inmate safety.
 5          69.    Plaintiff further alleges on his information and belief that Defendants
 6
     CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
 7
     MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
 8
     ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL elected not to have
 9
10   policies and procedures in place so that they can avoid any liability. Without any
11   policies and procedures, the injured party would be unable to show a breach of the
12
     policies and procedures.
13
            70.    Plaintiff alleges on his information and belief this was done by
14
15   Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,

16   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,
17   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL to avoid
18
     any liability as it relates to inmate injuries.
19
            71.    Each warehouse structure has 1 supervisor and between 7 to 10
20
21   working inmates. The contact between supervisor and inmate is regulated and

22   restricted.
23          72.    Plaintiff was assigned to work in the Prison’s warehouse that stored
24
     food, and given the task to assist in the unloading of food from the trailer trucks.
25
            73.    Plaintiff was not trained on the safety with any regulatory guidelines
26
27   as it relates to assisting the commercial vehicles to back up to the dock, unloading
28   a commercial vehicle, and safety.

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 1
           74.    Plaintiff alleges on his information and belief that the lack of training
 2
     was due to the deliberate choice by Defendants CATE, McDonald, BEYER,
 3
 4   Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
 5   RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
 6
     MOORE, RILEY, LUTRELL not to provide training. Plaintiff alleges on his
 7
     information and belief that meetings between these individuals ensued discussing
 8
     inmate safety and no policies were formulated or implemented to provide them
 9
10   any safety training or equipment. The reason why no training was provided is due
11   to the fact that these inmates and nobody cares if they get hurt or not.
12
           75.    As an inmate, Plaintiff was paid $ 0.11 per hours of work at the
13
     Prison warehouse.
14
15                  No Care Was Given for Plaintiff's Physical Safety

16         76.    Plaintiff was provided limited training in the form of a single group
17   video presentation, given work uniform (fluorescent green), and then shown the
18
     procedures used and authorized by CDCR at the prison for the unloading of cargo
19
     from the truck, which is none. The only training given was forklift driving.
20
21         77.    The trailer trucks would back their trucks towards the ramp, stop, at

22   which point Plaintiff or other inmates working that area were required to signal
23   the truck driver to stop, approach the trailer from the rear, open the trailer door,
24
     step to the side and direct the truck driver to approach the ramp.
25
           78.    Plaintiff was required to do this while the truck's engine was still
26
27   running, and the driver was not permitted to exit his vehicle and inmates,
28   including Plaintiff, were prohibited from talking with drivers’ period.

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 1
           79.      No equipment was used to lock the wheels of the truck, no chocks
 2
     were provided or used, and no method was available for the driver to verify
 3
 4   whether any person was between the rear of his truck and the elevated loading
 5   dock. This was a choice made by Defendants CATE, McDonald, BEYER,
 6
     Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
 7
     RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
 8
     MOORE, RILEY, LUTRELL.
 9
10         80.      The procedure required high level of co-ordination and attention on
11   the part of the truck driver. The rules of the CDCR did not permit the truck driver
12
     to exit the vehicle, and inmates are not permitted to communicate with the truck
13
     driver other than the work-related hand signals. This lack of communication
14
15   raised the risk factor for the Plaintiff or any inmate to get seriously injured at this

16   type of job.
17         81.      Prisoners are provided no method to signal stop other than their voice
18
     and no device or tool or signal is provided to them to direct truck traffic.
19
     Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
20
21   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,

22   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL made a
23   conscience choice not provide inmates with devices or tools to signal the truck.
24
     Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
25
     CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,
26
27   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL made a
28   deliberate choice that the inmates did not need these devices to safely do their job

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 1
     and protect them.
 2
            82.    Even though the inmates, including the Plaintiff, requested the
 3
 4   devices, they were not provided and no explanation was given. Plaintiff and other
 5   inmates made this request to CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
 6
     MOORE, RILEY, LUTRELL. Plaintiff and inmates were informed that CATE,
 7
     McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
 8
     MARTELL, MFOSS, RODRIGUEZ, TFOSS denied their request.
 9
10          83.    No other persons assist in the maneuver by the truck driver to
11   position into the unloading ramp, and the procedure is inherently dangerous for
12
     the prisoner assigned to the task because of the potential to be injured by the truck
13
     reversing into the ramp.
14
15          84.    The risk of being crushed by a truck against the fixed loading dock is

16   apparent to all who witness the heavy truck reversing into the dock and the
17   comparative exposure of a single person operating in the pathway of the truck and
18
     its loaded trailer.
19
                   Truck drivers speed through the process of unloading
20
21          85.    It is common for drivers to drive their trucks at a relatively high rate

22   of speed inside the enclosed unloading area of the Prison.
23          86.    Drivers are compensated by the number of loads per day. This
24
     financial incentive causes added lack of concern for safety issues by the drivers
25
     unloading goods at the loading docks.
26
27                         Risk of Harm Was Common Knowledge
28          87.    Safety at work is an issue that concerns everyone; employers,

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 1
     employees, their families and the community, including inmates and prison
 2
     officials.
 3
 4          88.   It is general knowledge that working around trucks is a major cause
 5   of injury in the transport and storage industry. This concern is heightened for
 6
     loading and unloading docks for warehouses.
 7
            89.   As published by California State Fund, an entity created in 1914 by
 8
     the California state legislature and currently the largest provider of workers'
 9
10   compensation insurance in the state, "One of the busiest locations at a warehouse
11   is the loading dock."
12
            90.   The published risks associated to loading docks by the State of
13
     California, include the following areas: "Trailers, dock levelers, and rolling doors
14
15   can cause pinch points, and elevated docks pose a fall hazard. Workers must pay

16   attention to these hazards and focus on safety training, the proper equipment, and
17   strict observation and supervision of work tasks." Plaintiff was required to work
18
     in the area that elevated docks were designed to avoid, the potential of being
19
     crushed against the loading ramp.
20
21          91.   Materials readily available from government agencies, like

22   Occupational Safety & Health Administration of the United States Department of
23   Labor, or the State Fund provided inexpensive, practical and straight-forward
24
     information on how to manage the risks of injury associated with working around
25
     trucks.
26
27          92.   It is common knowledge that vehicles, moving in and around
28   workplaces, have the potential to cause occupational injuries and deaths in

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 1
     workplaces in the United States.
 2
           93.    These risks were deliberately avoided and failed to be taken into
 3
 4   account by Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
 5   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 6
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 7
     LUTRELL because they failed to have any proper training in place for the inmates,
 8
     they failed to have proper policies and procedures in place for the inmates, they
 9
10   failed to provide the inmates the necessary equipment to perform their job safely,
11   and they failed to consider the requests provided by the inmates to have these
12
     items for their safety.
13
           94.      Plaintiff alleges on his information and belief that there were
14
15   meetings discussing the inmates concerns that included CATE, McDonald,

16   BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
17   MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
18
     CHAN, MOORE, RILEY, LUTRELL and during those meeting a decision was
19
     made that inmate safety was not important. These acts or non-acts rise to the level
20
21   of deliberate indifference as it relates to the Plaintiff’s safety while performing his

22   loading dock work.
23         95.    Reversing, loading, unloading and pedestrian movement around
24
     vehicle traffic are the activities most frequently linked with workplace vehicle
25
     accidents. Vehicle-pedestrian accidents are serious because it can easily result in
26
27   severe injury or death as a result of a vehicle weighing thousands of pounds
28   moving at speed, resulting in great force impact on unprotected pedestrians, over a

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 1
     short distance and short period of time.
 2
            96.   It is generally understood, that traffic and pedestrian movement at
 3
 4   workplaces should be designed, planned and controlled so that pedestrians and
 5   vehicles can circulate safely.
 6
            97.   The safest way to protect pedestrians is to eliminate the requirement
 7
     for people and plant to operate at the same level (e.g. design the hazard out by
 8
     building raised loading docks in new facilities); provide separate footpaths or
 9
10   walkways and eliminate pedestrian traffic where vehicles. Plaintiff was required
11   to work at the same level as the truck and between the truck and a fixed platform.
12
            98.   It is common knowledge that reversing accidents are a major cause of
13
     workplace injury and damage to vehicles, equipment and premises. It is common
14
15   knowledge that injuries can occur when people at ground level assist in unloading

16   trailers.
17          99.   It is common knowledge that when persons are opening the trailer
18
     doors the engine should be stopped and the key removed.
19
            100. In areas where pedestrians are at risk from motor vehicles, traffic
20
21   management plan are normally designed to identify any hazards, assess the risks

22   that may be caused by people coming into contact with a hazard, and put in place
23   risk control measures to eliminate or minimize risks. No traffic management plan
24
     is known to have been prepared for the Plaintiff's workplace.
25
            101. No risk assessment for working around trucks is known to have been
26
27   made by the Defendants for Plaintiff's workplace.
28          102. Occupational Safety and Health Administration (“OSHA”) of the

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 1
     United States Department of Labor and the State of California - OSHA, having
 2
     jurisdiction over private contracting operators like Defendants BT, SL and
 3
 4   LOPEZ, prohibit the exact procedure implemented and required by Defendants
 5   CATE.
 6
           103. CAL OSHA failed to investigate the incident in this matter.
 7
           104. The law states: "Trucks shall not be driven up to anyone standing in
 8
     front of a bench or other fixed object." 29 C.F.R. §1910.178(m)(1). Plaintiff was
 9
10   required to regularly come between a running truck reversing towards a fixed
11   elevated ramp without assistance and operated by a single driver. Plaintiff had to
12
     perform these duties without proper training or equipment to ensure his safety.
13
           105. Plaintiff alleges on his information and belief that he and the other
14
15   inmates were not trained and provided the necessary equipment due to the fact

16   that Defendants did not care for their safety. There were no polices and procedure
17   in place and after complaints were made nothing was done. Plaintiff also alleges
18
     that due to the lack of funds that the Defendants made a choice that inmate safety
19
     can be compromised.
20
21         106. Plaintiff further alleges on information and belief that CAL-OSHA

22   failed to investigate the incident based on the communications from CATE,
23   McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
24
     MARTELL, MFOSS, RODRIGUEZ, TFOSS informing CAL OSHA that
25
     everything was fine.
26
27         107. Plaintiff alleges on information and belief that CAL OSHA failed to
28   investigate the incident because CAL OSHA would have fined CATE, McDonald,

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 1
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
 2
     MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
 3
 4   CHAN, MOORE, RILEY, LUTRELL for failing to maintain a safe premise for
 5   work safety.
 6
           108. No safety procedure consistent with minimum safe practices on
 7
     loading dock, no safe work practices, and no meaningful safety equipment were
 8
     provided to Plaintiff.
 9
10         109. Contrary to any safety precaution: instead of providing for
11   communications, the procedures restricted communication; instead of requiring
12
     the vehicle to be turned off, the driver was required to have engines running;
13
     instead of locking the vehicle, the plaintiff was required to open the rear doors
14
15   while the vehicle could move; instead of avoiding the need to come between the

16   truck and the loading dock, plaintiff was required to place his body in the lane of
17   travel between the truck and the dock.
18
                              Plaintiff Suffers Catastrophic Injury.
19
           110. Plaintiff started work at the loading dock in April 2011, performing
20
21   his work as required using the procedure established by the Prison.

22         111. On July 27, 2011, Plaintiff was working in the loading dock at the
23   Prison warehouse.
24
           112. Defendant Lopez drove his trailer truck into the Prison warehouse to
25
     drop off food supplies.
26
27         113. Once in the loading dock, Defendant Lopez reversed his trailer truck
28   to the loading dock ramp. Prior to aligning the trailer to the loading dock ramp,

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 1
     the rear part of the trailer must be unlocked by an inmate.
 2
           114. Plaintiff was to unlock the rear of Defendant Lopez’s trailer, while
 3
 4   the truck was running and in the absence of any equipment to lock the wheels of
 5   the truck.
 6
           115. Once the rear has been unlocked, Plaintiff or another inmate was to
 7
     hand signal to Defendant Lopez that it is safe to align the trailer to the loading
 8
     dock ramp.
 9
10         116. Prior to completing Plaintiff’s unlocking task and subsequent hand
11   signal by Plaintiff or another inmate, Defendant Lopez reversed the truck and
12
     crushed Plaintiff into the loading dock ramp.
13
           117. Plaintiff was positioned in the center of the loading dock.
14
15         118. When Defendant Lopez reversed his trailer truck, an audible alert in

16   the form of beeping noise and hazard lights was supposed to activate. At the time
17   of this incident, no audible alert or hazard lights was activated or was audible.
18
     Plaintiff was not provided sufficient time and space to avoid the truck.
19
           119. It was normal for truck driver to surge his vehicle in reverse at speeds
20
21   a person near the rear could not avoid. It was imperative under the circumstances

22   that the driver not lose track of any persons around the vehicle prior to moving.
23   But no equipment or procedure was in place to minimize human error.
24
           120. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
25
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
26
27   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
28   LUTRELL failed to provide the Plaintiff and the other inmates with these devices

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 1
     as alleged above.
 2
           121. These devices were not provided as the Defendants CATE,
 3
 4   McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
 5   MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
 6
     ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL made a deliberate
 7
     choice not to provide them. This reflected by the fact that there were no policies
 8
     and procedures in place for inmate safety at the time of the incident, (2) that the
 9
10   supervisors failed to listen to the request for the Plaintiff and other inmates for
11   safety measures, (3) that Defendants made a conscience choice to spend money on
12
     prison guards rather than inmate safety, and (4) Defendants CATE, McDonald,
13
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
14
15   MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,

16   CHAN, MOORE, RILEY, LUTRELL were aware that the prisoners needed this
17   device, but simply made a choice not to provide it based on the requests made by
18
     Plaintiff and other inmates.
19
           122. Plaintiff did not expect Defendant Lopez to reverse his trailer and,
20
21   therefore, was unable to move safely out of the way in time to avoid the crushing

22   force impact as the rear of the trailer surged into him. Plaintiff was crushed by the
23   trailer against the loading dock ramp.
24
           123. Plaintiff stopped breathing at the scene of accident. CPR was
25
     administrated to the Plaintiff.
26
27         124. Plaintiff was rushed to an emergency hospital.
28         125. Plaintiff injuries include but not limited to major and catastrophic

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 1
     injuries to the spine cord and brain, fractured jaw, severed nerves, crushed tissue,
 2
     and deep lacerations.
 3
 4         126. Plaintiff is hospitalized and recovering but is unable to breathe
 5   without the assistance of a ventilation machine to assist his damaged lungs and is
 6
     paralyzed without any movements in the arms or legs.
 7
           127. Defendant Lopez did not wait for Plaintiff to unlock the rear of the
 8
     trailer and get out of the way. Defendant Lopez did not wait for Plaintiff or other
 9
10   inmates to provide the hand signal before reversing his trailer. Defendant Lopez
11   along with the Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
12
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
13
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
14
15   LUTRELL deliberate indifference toward inmate safety caused his trailer to crush

16   into Plaintiff, which resulted in Plaintiff’s major injuries.
17         128. Plaintiff is informed and believes that no alcohol or drugs were
18
     involved in the incident, and Plaintiff is informed and believes that testing for
19
     substances were administered on the driver.
20
21   Plaintiff’s lack of training and support and the absence of any safety devices

22                                   increased the danger
23         129. Plaintiff was only provided limited training and support to perform
24
     his expected assignments in the form of a video watched with a group of six
25
     inmates in one session and a uniform. The video and the only training provided
26
27   pertained to forklift driving, and not loading or unloading the commercial vehicle.
28         130. The limited training did not provide any devices to slow or stop the

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 1
     commercial vehicle, the limited training did not provide for the proper use of the
 2
     hand signals, the limited training did not provide for the ability to speak with the
 3
 4   truck driver to avoid any uncertainty as it relates with safety, there were no polices
 5   and procedure in place.
 6
           131. Based on information belief, when the Plaintiff and other inmates
 7
     informed Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
 8
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 9
10   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
11   LUTRELL about this problem the inmates were ignored.
12
           132. Based on information and belief, Defendants CATE, McDonald,
13
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
14
15   MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,

16   CHAN, MOORE, RILEY, LUTRELL made a conscience choice not to supply the
17   inmates with these safety features even though they were aware of the serious risk
18
     of injury to the inmates.
19
           133. Based on information and belief, Defendants CATE, McDonald,
20
21   BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,

22   MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
23   CHAN, MOORE, RILEY, LUTRELL were aware of the serious risk as reports
24
     were provided to them by subordinates about the danger and harm to inmates, that
25
     loading docks without proper training and equipment is an ultra-hazardous activity,
26
27   and these defendants attended several meetings to discuss these issues.
28         134. Based on information and belief, Defendants CATE, McDonald,

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 1
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
 2
     MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
 3
 4   CHAN, MOORE, RILEY, LUTRELL even though provided the information
 5   failed to make any changes to provide inmate safety.
 6
           135. Based on information and belief, Defendants CATE, McDonald,
 7
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
 8
     MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
 9
10   CHAN, MOORE, RILEY, LUTRELL made a conscience choice to recklessly
11   disregard inmate safety by using the limited money due to the overcrowded prison
12
     for more prison guards than inmate safety.
13
           136. The Plaintiff was provided no instructions on hand signals, or the
14
15   safe method of unloading trucks, or the non-apparent dangers of the work

16   environment.
17         137. The cost of painting drive lanes, installing mirrors, use of chocks, or
18
     requiring the driver to turn the engine off, would be negligible and pale in
19
     comparison to the cost the risk of being crushed between a trailer and the loading
20
21   dock. Thus, the Defendants made a choice that the negligible cost for safety was

22   not warranted to protect the inmates.
23         138. The training video and the work uniform has no effect on the risk of a
24
     driver forbidden from rolling down his window and not permitted to leave the
25
     vehicle, from crushing a person standing in the blindside of the trailer.
26
27         139. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
28   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,

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 1
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 2
     LUTRELL accordingly did nothing to address the risk of severe injury or death to
 3
 4   inmate workers forced to enter the blindside of a truck, the area behind the trailer
 5   and its open doors that are not visible to the driver, and expose himself to the
 6
     possibility of crushing force impact against the elevated loading dock.
 7
           140. Based on information and belief, Defendants CATE, McDonald,
 8
     BEYER, Dickinson, STAINER, MACOMBER, CALDERON, MARTELL,
 9
10   MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON,
11   CHAN, MOORE, RILEY, LUTRELL made this choice aware of the catastrophic
12
     risk of injury to Plaintiff and the other inmates by recklessly disregarding this risk
13
     to avoid spending any additional monies or even creating a policy and procedure
14
15   for inmate safety.

16         141. Plaintiff's injuries were directly caused by an institution suffering
17   from inadequate resources and overpopulation, requiring the use of dangerous
18
     loading docks at a high rate of activity, without any care expended to ensure any
19
     degree of safety for inmates exposed to moving vehicles in a confined space.
20
21        Defendants Were Aware and Deliberately Indifferent To The Risk to

22                                         Plaintiff.
23         142. Since the mid-1970s, California’s prison population has increased by
24
     over 750 percent, rising from approximately 20,000 inmates to an “all-time high”
25
     in October 2006 of over 170,000 inmates, with more than 160,000 housed in the
26
27   state’s adult prison institutions.
28         143. The California legislature has recognized prison crowding as a

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 1
     serious problem since at least 1987, when it convened a Blue Ribbon Commission
 2
     on Inmate Population Management. The commission issued its final report in
 3
 4   1990, with thirtyeight recommendations, including “alternative sanctions, and
 5   more programming [and] reentry programs.”
 6
           144. Between 1990 and 2006, more than a dozen commissions and other
 7
     groups issued reports with proposals to solve the overcrowding problem in
 8
     California’s prison and associating overcrowding with widespread problems
 9
10   across all the prisons in California and directly affecting the safety of inmates.
11         145. One of the most exhaustive reports completed during this period was
12
     the June 2004 report of the Corrections Independent Review Panel, which was
13
     appointed by Governor Schwarzenegger; chaired by former California Governor
14
15   and Attorney General George Deukmejian noted that California’s “correctional

16   system has grown to become the largest in the nation, rivaling in size and numbers
17   even those of most other countries,” and that “[n]ot surprisingly, this massive
18
     system shows the strains of both its age and its decades-long growth.”
19
           146. The Panel found that “[a]dult prisons are severely overcrowded,
20
21   imperiling the safety of both correctional employees and inmates.”

22         147. In its report, the Corrections Independent Review Panel discussed
23   three distinct measures of prison capacity: “design capacity,” “operable capacity,”
24
     and “maximum safe and reasonable capacity.” "Design capacity” is the term used
25
     for the past 50 years to designate the number of inmates a prison is designed to
26
27   accommodate.
28         148. California has never limited its prison population to 100% design

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 1
     capacity, and has in some respects planned for inmate population levels that
 2
     exceed 100% design capacity. California now regularly maintains inmate
 3
 4   populations exceeding any reasonable limits to design, operable, and beyond the
 5   maximum safe and reasonable capacity. Some facilities hold inmates at 150
 6
     percent, 175 percent, 190 percent or 200 percent to design capacity.
 7
           149. The “overcrowding package” is “a staff enhancement of the design
 8
     bed package." The overcrowding package shows that CALIFORNIA, CDCR and
 9
10   CATE anticipated overcrowding of as much as 190 percent in their facilities.
11         150. However, some of the facilities operated by CDCR were not
12
     designed with any provision for expansion, including the Prison that held Plaintiff
13
     because of the age of the facility.
14
15         151. The third measure, “maximum ‘safe and reasonable’ capacity,” refers

16   to “the maximum number of inmates who can safely and reasonably be housed in
17   the prison system.” This definition takes into account only “the ‘safe and
18
     reasonable’ capacity of individual housing units according to inmate custody
19
     levels, staffing levels, and the physical structure of the units.” Units for inmates at
20
21   higher custody levels have a lower maximum safe and reasonable capacity than

22   units for inmates who present a lower security risk.
23         152. The CDCR has determined the maximum safe and reasonable
24
     capacity of the state’s male prisons is . . . 179 percent of design capacity.
25
           153. However the standard used by CDCR, “Maximum ‘safe and
26
27   reasonable’ capacity,” does not take into account “the need for humane
28   conditions” incorporated into design capacity, or the need for programming space

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 1
     incorporated into both design and operable capacity.
 2
           154. California’s inmate population has far exceeded the design capacity
 3
 4   of the state’s prison system for over twenty-five years. By October 2006, the
 5   state’s adult prisons, excluding camps, were operating at 200.2% design capacity
 6
     with 162,792 inmates.
 7
           155. As of August 27, 2008, the population of these institutions was
 8
     reduced to 195.9% design capacity with 156,352 inmates, largely as a result of
 9
10   shipping several thousand prisoners to Mississippi and other contract states.
11         156. The current level of crowding far exceeds even the maximum safe
12
     and reasonable capacity of the California prison system, which, by CDCR’s own
13
     determination, is 179% design capacity for prisons holding male prisoners.
14
15         157. In response to the severity of the prison crowding problem, Governor

16   Arnold Schwarzenegger, declared a state of emergency on October 4, 2006. In his
17   Prison Overcrowding State of Emergency Proclamation, the Governor declared
18
     that “all 33 of CDCR’s prisons, including the Prison, are now at or above
19
     maximum operational capacity, and 29 of the prisons are so overcrowded that the
20
21   CDCR is required to house more than 15,000 inmates in conditions that pose

22   substantial safety risks”; that “the severe overcrowding in 29 CDCR prisons has
23   caused substantial risk to the health and safety of the men and women who work
24
     inside these prisons and the inmates housed in them”; that “the overcrowding
25
     crisis gets worse with each passing day, creating an emergency in the California
26
27   prison system”; and that “immediate action is necessary to prevent death and harm
28   caused by California’s severe prison overcrowding.”

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 1
           158. The risks enumerated by the Governor in his Proclamation include
 2
     “increased, substantial risk for transmission of infectious illness”; security risks
 3
 4   caused by line-of-sight problems for correctional officers, particularly in areas
 5   where inmates are triple-bunked and in “tight quarters”; and “thousands of gallons
 6
     of sewage spills and environmental contamination” from overloading the prisons’
 7
     sewage and wastewater systems.
 8
           159. In January 2007, the Little Hoover Commission, a bipartisan and
 9
10   independent state body charged with conducting research and preparing
11   recommendations to improve the economy, efficiency, and service of California
12
     state government, Cal. Gov’t. Code §§ 8501, 8521-8522, echoed the concerns in
13
     the Governor’s State of Emergency Proclamation, stating that “California’s
14
15   prisons are out of space and running out of time.”

16         160. On June 27, 2007, the Plata and Coleman courts jointly heard oral
17   argument were persuaded that the state had not adequately addressed its prison
18
     overcrowding crisis so as to make possible the remedying of the constitutional
19
     violations, and that consideration of a population reduction order was necessary in
20
21   order to achieve that objective in both cases, both courts granted plaintiffs’

22   motions. July 23, 2007 Order in Plata, 2007 WL 2122657; July 23, 2007 Order in
23   Coleman, 2007 WL 2122636.
24
           161. Furthermore, the courts and a federal receiver has determined that
25
     overcrowding adversely impacts on the very process of implementing remedies
26
27   because overcrowding, and the resulting day to day operational chaos of the
28   CDCR, creates regular “crisis” situations which call for action on the part of the

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 1
     Receivership and take time, energy, and person power away from important
 2
     remedial programs.
 3
 4         162. The extent of overcrowding in the California prison system,
 5   approximately 190% of systemwide design capacity, is “extraordinary” and
 6
     “almost unheard of.” The problem is “widespread” and “not restricted to just a
 7
     few institutions. It’s occurred throughout the system.”
 8
           163. In the context of prison conditions litigation “crowding” refers to the
 9
10   presence in a facility or prison system of a prisoner population exceeding that
11   facility or system’s capacity. See, e.g., Doty v. County of Lassen, 37 F.3d 540, 543
12
     (9th Cir. 1994) (finding overcrowding where a jail’s actual population exceeded
13
     its design capacity by an average of approximately fifty percent); Hoptowit v. Ray,
14
15   682 F.2d 1237, 1248-49 (9th Cir. 1982) (finding a penitentiary overcrowded

16   where its population exceeded its design capacity); see also Lareau v. Manson,
17   651 F.2d 96, 99-100 (2d Cir. 1981); cf. Random House Webster’s Unabridged
18
     Dictionary 482 (2d ed. 1998) (defining “crowded” as “filled to excess”).
19
           164. A prison system’s capacity is not defined by square footage alone; it
20
21   is also determined by the system’s resources and its ability to provide inmates

22   with essential services such as food, air, and temperature and noise control.
23         165. These standards “take into account the need for humane conditions,
24
     as well as the need to prevent violence and move inmates to and from programs,
25
     such as mental health care, education classes, and drug abuse treatment.”
26
27         166. Testimony from Jeanne Woodford, former warden at San Quentin
28   and former acting Secretary of the CDCR; Doyle Wayne Scott, former Executive

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 1
     Director of the Texas Department of Criminal Justice; Joseph Lehman, former
 2
     head of corrections in Pennsylvania, Washington, and Maine; and Jeffrey Beard,
 3
 4   current Secretary of the Pennsylvania Department of Corrections overwhelmingly
 5   establishes not only that crowding adversely affects every aspect of prison
 6
     administration, forcing a constant state of crisis management.
 7
           167. As a matter of judicial determination reviewing the reports from the
 8
     federal receiver, the court has concluded that clear and convincing evidence
 9
10   establishes that crowding is the primary cause of the unconstitutional denial of
11   medical and mental health care to California’s prisoners. Quoting Secretary
12
     Woodford, who recently administered the California prison system and who
13
     shortly before that was the warden at San Quentin, “[o]vercrowding in the CDCR
14
15   is extreme, its effects are pervasive and it is preventing the Department from

16   providing adequate mental and medical health care to prisoners.”
17         168. Defendant CATE, the former head of the CDCR testified in court that
18
     “overpopulation makes everything we do more difficult,”
19
           169. Prison overcrowding has created a state of emergency in California’s
20
21   prisons, as the Governor has proclaimed. It forces prison administrators to devote

22   most of their energy to addressing crises and has overwhelmed the prison system’s
23   management infrastructure.
24
           170. The consequences of crowding are often dangerous, and on many
25
     occasions fatal. Crowding contributes to an alarming number of extreme
26
27   departures from the standard of care and an unacceptably high number of inmate
28   deaths that are preventable or possibly preventable.

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 1
           171. Plaintiff alleges that San Quentin is a facility operating beyond any
 2
     sane limits set by design capacity, operable capacity, and beyond maximum ‘safe
 3
 4   and reasonable’ capacity,” and beyond any established limits to provide humane
 5   conditions, and beyond the ability to provide places for inmates to be physically
 6
     safe. The overcrowding population and the crisis mentality of the State-
 7
     Defendants responsible for the Prison has created and/or aggravated the dangerous
 8
     risk associated with the loading dock that Plaintiff was employed at.
 9
10         172. The risk created by the Defendants CATE, McDonald, BEYER,
11   Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
12
     RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
13
     MOORE, RILEY, LUTRELL 's deliberate indifference to the physical safety of
14
15   Plaintiff is a direct result of a physical facility used beyond any conceivable level

16   operational capacity, and an institution operating under a crisis mentality caused
17   by the overcrowding population without the resources, time, or incentive to
18
     address such mundane safety issues as a lone inmate working between a truck and
19
     an elevated loading dock. This was a choice made by these Defendants CATE,
20
21   McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,

22   MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
23   ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL that inmate safety was
24
     not important.
25
           173. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
26
27   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
28   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,

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 1
     LUTRELL failed to provide the Plaintiff and the other inmates with proper
 2
     training, proper devices, policies and procedures, and guidance. They were not
 3
 4   provided as the Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
 5   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 6
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 7
     LUTRELL made a deliberate choice not to provide them. This reflected by the
 8
     fact that there were no policies and procedures in place for inmate safety at the
 9
10   time of the incident, (2) that the supervisors failed to listen to the request for the
11   Plaintiff and other inmates for safety measures, (3) that Defendants made a
12
     conscience choice to spend money on prison guards rather than inmate safety, and
13
     (4) Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
14
15   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,

16   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL were
17   aware that the prisoners needed this device, but simply made a choice not to
18
     provide it and stated, even though aware of the risk of harm that inmate safety was
19
     not important.
20
21         174. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,

22   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
23   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
24
     LUTRELL were aware of facts from which the inference could be drawn that a
25
     substantial risk of serious harm existed. Defendants were aware of the harm
26
27   presented by a lone inmate like Plaintiff working in a confined space behind a
28   running truck. In fact, these Defendants CATE, McDonald, BEYER, Dickinson,

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 1
     STAINER, MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ,
 2
     TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 3
 4   LUTRELL aware of the risk of harm deliberately chose not provide the proper
 5   safety measures for the inmates.
 6
           175. Defendants CATE , McDonald, BEYER, Dickinson, STAINER,
 7
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 8
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 9
10   LUTRELL knew of the risk Plaintiff was exposed to and that Defendants inferred
11   that substantial harm might result from the risk that Plaintiff in fact suffered.
12
     Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
13
     CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,
14
15   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL still

16   required Plaintiff to work under the unsafe conditions despite their knowledge of
17   a substantial risk of serious harm. This risk was evident to Defendants CATE,
18
     McDonald, BEYER, Dickinson, STAINER, MACOMBER, CALDERON,
19
     MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI,
20
21   ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL by the complaints

22   made by the inmates, by reports generated to these defendants identifying the risk
23   of harm, and discussions amongst themselves and others about the risk of harm
24
     but deliberately chose to not provide a safe place for the inmates to work.
25
           176. It is well known that a person can be crushed, severely injured or
26
27   killed when moving close to a running truck moving in reverse. It is well known
28   that the risk caused by a person working in a confined space between a truck and a

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 1
     fixed object, like a loading dock, is serious bodily injury and even death.
 2
           177. To have provided no safeguards, equipment, or procedure, and
 3
 4   instead requiring procedures that further limited the ability of the driver and the
 5   Plaintiff to communicate, to identify the location of the Plaintiff, to keep the truck
 6
     engine running, and to require the high frequency of deliveries, and a short time to
 7
     actually unload, Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
 8
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 9
10   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
11   LUTRELL acted with deliberate indifference in the face of such knowledge and
12
     further aggravated the risk of harm actually suffered.
13
                                          COUNT I
14
15         42 U.S.C. SECTION 1983 FOR DELIBERATE INDIFFERENCE

16   (Against State Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
17   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
18
       CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
19
                                         LUTRELL)
20
21         178. Plaintiff incorporates herein by this reference each and every

22   allegation contained in paragraphs 1 through 176 inclusive.
23         179. Plaintiff alleges that he suffered unconstitutional conditions of
24
     confinement in violation of the Eighth Amendment's prohibition against cruel and
25
     unusual punishment, as incorporated through the Due Process Clause of the
26
27   Fourteenth Amendment.
28         180. Plaintiff alleges that CATE as supervisor, acted and failed to act, in a

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 1
     manner to protect the safety of Plaintiff, and was deliberately indifferent to
 2
     Plaintiff's Eighth Amendment rights.
 3
 4         181. Plaintiff further alleges that Defendants CATE, McDonald, BEYER,
 5   Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
 6
     RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,
 7
     MOORE, RILEY, LUTRELL failed to provide the Plaintiff and the other inmates
 8
     with proper training, proper devices, policies and procedures, and guidance. They
 9
10   were not provided as the Defendants CATE, McDonald, BEYER, Dickinson,
11   STAINER, MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ,
12
     TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
13
     LUTRELL made a deliberate choice not to provide them. This reflected by the
14
15   fact that there were no policies and procedures in place for inmate safety at the

16   time of the incident, (2) that the supervisors failed to listen to the request for the
17   Plaintiff and other inmates for safety measures, (3) that Defendants made a
18
     conscience choice to spend money on prison guards rather than inmate safety, and
19
     (4) Defendants CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
20
21   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,

22   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL were
23   aware that the prisoners needed this device, but simply made a choice not to
24
     provide it and stated, even though aware of the risk of harm that inmate safety was
25
     not important.
26
27         182. The Eighth Amendment proscribes more than physically barbarous
28   punishments. The Amendment embodies "broad and idealistic concepts of dignity,

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                                SECOND AMENDED COMPLAINT
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 1
     civilized standards, humanity, and decency . . . ," Punishments are repugnant to
 2
     the Eighth Amendment if they are incompatible with the evolving standards of
 3
 4   decency that mark the progress of a maturing society.
 5         183. State defendants, each of them, acted with deliberate indifference to
 6
     Plaintiff for his protected liberty interest in bodily integrity, and thus, violated the
 7
     Constitution either directly, indirectly by policies instituted by them, and/or by the
 8
     actions of persons directly supervised by them.
 9
10         184. These elementary principles establish the government's obligation to
11   provide some minimal degree of safety and care for those whom it is punishing by
12
     incarceration.
13
           185. An inmate needs and must rely on prison authorities to safeguard his
14
15   person from serious harm or provide a workplace free of substantial risks of

16   serious harm; if the authorities fail to do so, those needs will not be met. In the
17   worst cases, such a failure may actually produce physical "torture or a lingering
18
     death,"
19
           186. Plaintiff as inmate had no ability to change the work conditions he
20
21   was exposed to, or to adjust the procedures he was required to perform to the

22   exact letter under the instructions given.
23         187. The deliberate indifference to the safety of prisoners constitutes the
24
     unnecessary and wanton infliction of pain to Plaintiff proscribed by the Eighth
25
     Amendment and is actionable under 42 USC§ 1983.
26
27         188. As a result of defendants' deliberate indifference, Plaintiff was
28   deprived of liberty and said deprivation objectively and sufficiently serious.

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 1
           189. State defendants at all relevant times, had a sufficiently culpable state
 2
     of mind, in allowing the deprivation to take place, being deliberately indifferent to
 3
 4   the Plaintiff's health and safety.
 5         190. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
 6
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 7
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 8
     LUTRELL violated rights guaranteed under the Eighth and Fourteenth
 9
10   Amendments, when they acted with deliberate indifference and/or their conduct
11   was so reckless as to be tantamount to a desire to inflict harm.
12
           191. The risks known to state defendants were obvious with even a
13
     modicum of inquiry into the safety of the inmates in the work assignments created
14
15   by state defendants and the risks were avoidable with the exercise of minimal

16   care, expense and thought.
17         192. The risks were directly created as result of state defendants' policies
18
     of detention and confinement which purposefully avoids issues of inmate safety in
19
     favor of maximum inmate population per facility at minimum costs. These
20
21   policies were adopted, ratified, and their constitutional infirmities left unaddressed

22   by Defendants CATE in his personal capacity; MICHAEL MARTEL, in his
23   individual capacity; TERRI MCDONALD, in his individual capacity; BRYAN
24
     BEYER, in his individual capacity; KATHLEEN DICKINSON, in her individual
25
     capacity; MICHAEL STAINER, in his individual capacity; JEFF MACOMBER,
26
27   in his individual capacity; ROBERT CALDERON, in his individual capacity;
28   MICHAEL MARTEL, in his individual capacity; M. FOSS, in his individual

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 1
     capacity; K. LUTRELL, in his individual capacity; RAYMOND MATTEUCCI,
 2
     in his individual capacity; RICHARD RILEY, in his individual capacity;
 3
 4   THOMAS ALIOTTO, in his individual capacity; GEORGE MOON, in his
 5   individual capacity; RONALD CHAN, in his individual capacity; TAMMY
 6
     FOSS, in her individual capacity; M. CHIRILA, in his individual capacity; W.
 7
     RODRIGUEZ, in his individual capacity; DAVID MOORE, in his individual
 8
     capacity.
 9
10         193. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
11   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
12
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
13
     LUTRELL are sued in their individual capacity for acquiescence in the
14
15   constitutional deprivations of which this complaint is made and conduct that

16   showed a reckless or callous indifference to the rights of Plaintiff and similarly
17   situated inmates in their custodial care.
18
           194. Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
19
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
20
21   CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,

22   LUTRELL are liable under individual supervisor liability under §1983 when the
23   actions and inactions in creating the reckless procedures, unsafe conditions and
24
     work assignment devoid of basic safety safeguards subjected to Plaintiff can
25
     attributed to CATE, McDonald, BEYER, Dickinson, STAINER, MACOMBER,
26
27   CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS, CHIRILA,
28   MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY, LUTRELL 's

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 1
     participation in the training, supervision, and control of subordinates who were
 2
     directly and personally involved in exposing Plaintiff to conditions that ultimately
 3
 4   caused Plaintiff's injuries.
 5          195. The actions of Defendants, acting under color of state law, deprived
 6
     Plaintiff of his rights, privileges, and immunities under the laws and Constitution
 7
     of the United States; in particular the right to be secure in his person and property;
 8
     to be free from excessive use of force, and due process.
 9
10          196. Defendants deprived Plaintiff of rights secured by the Eighth and
11   Fourteenth Amendments to the United States Constitution, in violation of 42
12
     U.S.C. Section 1983.
13
            197. On information and belief, state Defendants undertook to provide
14
15   Plaintiff with minimum safety to permit Plaintiff to perform his assigned work

16   duties without fear from undue danger or risk.
17          198. On information and belief, state defendants failed to provide Plaintiff
18
     with any tools, training, or materials to perform his work duties to avoid the risk
19
     of harm that Plaintiff suffered.
20
21          199. On information and belief, Plaintiff alleges that state Defendants

22   failed to train its employees adequately to permit Plaintiff to perform his work
23   duties without risk of the harm suffered.
24
            200. On information and belief, Plaintiff alleges that the state Defendants’
25
     failure to properly train its employees caused the deprivation of the Plaintiff’s
26
27   civil rights.
28          201. On information and belief, state defendants disregarded the safety of

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 1
     Plaintiff and increased the risk of harm by their neglect and indifference. No
 2
     consideration was given to the safety of Plaintiff.
 3
 4         202. The risk of harm was aggravated by the lack of training and neglect
 5   of demanding minimum qualifications from state defendant contracting parties
 6
     and employees.
 7
           203. The risk of harm was aggravated by the increased traffic, congested
 8
     work space, lack of safety precautions or instructions, and prohibition on
 9
10   communications, that Plaintiff was forced to work in.
11         204. As a result of the state defendants’ actions and deliberate
12
     indifference, the Plaintiff was harmed.
13
           205. On and information and belief, Plaintiff alleges that Defendants’ use
14
15   of excessive force was a substantial factor in cause Plaintiff’s harm.

16         206. As a direct and proximate result of the state defendants’ actions,
17   Plaintiff was deprived of rights, privileges, and immunities under the Eighth and
18
     Fourteenth Amendment to the United States Constitution and the laws of the State
19
     of California.
20
21         207. Plaintiff alleges the state defendants failed to discipline its employees

22   for the harm caused to the Plaintiff for the violation of his civil rights, thereby
23   causing ratifying Defendants' unlawful conduct.
24
           208. On information and belief, Plaintiff alleges that state defendants have
25
     engaged in outrageous conduct, which is oppressive in nature.
26
27         209. On information and belief, Plaintiff alleges that state defendants’
28   conduct was intended to cause serious harm to the Plaintiff, or with reckless

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 1
     disregard for the Plaintiff and Plaintiff's rights.
 2
            210. That as a direct and proximate result of the state defendants’ conduct,
 3
 4   and each of them, as described herein, proximately and directly caused Plaintiff to
 5   suffer harm.
 6
            211. That the above described wrongful conduct of the state defendants
 7
     was malicious, oppressive, and done with the conscious disregard of Plaintiff’s
 8
     rights and well being, justifying the imposition of punitive damages and
 9
10   exemplary damages in such sum as the trier of fact shall deem appropriate.
11                                         COUNT II
12
                                   42 U.S.C. SECTION 1983
13
        (Against Defendants CATE, McDonald, BEYER, Dickinson, STAINER,
14
15   MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,

16     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
17                                         LUTRELL)
18
            212. Plaintiff incorporates herein by this reference each and every
19
     allegation contained in paragraphs 1 through 211 inclusive.
20
21          213. The actions of state defendants, acting under color of state law,

22   deprived Plaintiff of his rights, privileges, and immunities under the laws and
23   Constitution of the United States; in particular the right to be secure in his person
24
     and property; to be free from excessive use of force, and due process.
25
            214. State defendants deprived Plaintiff of rights secured by the Eighth
26
27   and Fourteenth Amendments to the United States Constitution, in violation of 42
28   U.S.C. Section 1983.

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 1
           215. On information and belief, state defendants undertook to provide
 2
     Plaintiff with minimum safety to permit Plaintiff to perform his assigned work
 3
 4   duties without fear from undue danger or risk.
 5         216. On information and belief, state defendants failed to provide Plaintiff
 6
     with any tools, training, or materials to perform his work duties to avoid the risk
 7
     of harm that Plaintiff suffered.
 8
           217. On information and belief, Plaintiff alleges that state defendants
 9
10   failed to train its employees adequately to permit Plaintiff to perform his work
11   duties without risk of the harm suffered.
12
           218. On information and belief Defendants CATE, McDonald, BEYER,
13
     Dickinson, STAINER, MACOMBER, CALDERON, MARTELL, MFOSS,
14
15   RODRIGUEZ, TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN,

16   MOORE, RILEY, LUTRELL failed to provide the Plaintiff and the other inmates
17   with proper training, proper devices, policies and procedures, and guidance. They
18
     were not provided as the Defendants CATE, McDonald, BEYER, Dickinson,
19
     STAINER, MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ,
20
21   TFOSS, CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,

22   LUTRELL made a deliberate choice not to provide them. This reflected by the
23   fact that there were no policies and procedures in place for inmate safety at the
24
     time of the incident, (2) that the supervisors failed to listen to the request for the
25
     Plaintiff and other inmates for safety measures, (3) that Defendants made a
26
27   conscience choice to spend money on prison guards rather than inmate safety, and
28   (4) Defendants CATE, McDonald, BEYER, Dickinson, STAINER,

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 1
     MACOMBER, CALDERON, MARTELL, MFOSS, RODRIGUEZ, TFOSS,
 2
     CHIRILA, MATTEUCI, ALIOTTO, MOON, CHAN, MOORE, RILEY,
 3
 4   LUTRELL were aware that the prisoners needed this device, but simply made a
 5   choice not to provide it and stated, even though aware of the risk of harm that
 6
     inmate safety was not important.
 7
            219. On information and belief, Plaintiff alleges that the state defendants’
 8
     failure to properly train its employees caused the deprivation of the Plaintiff’s
 9
10   civil rights.
11          220. On information and belief, state defendants disregarded the safety of
12
     Plaintiff and increased the risk of harm by their neglect and indifference. No
13
     consideration was given to the safety of Plaintiff.
14
15          221. The harm suffered was the result of a policy that disregards basic

16   requirements needed to avoid substantial risks of severe injury, like the injuries
17   sustained by Plaintiff.
18
            222. The risk of harm was aggravated by the lack of training and neglect
19
     of demanding minimum qualifications from state defendant contracting parties
20
21   and employees.

22          223. The risk of harm was aggravated by the increased traffic, congested
23   work space, lack of safety precautions or instructions, and prohibition on
24
     communications, that Plaintiff was forced to work in.
25
            224. On information and belief, Plaintiff alleges that the state defendants
26
27   used excessive force, and the harm constituted cruel and unusual punishment.
28          225. On and information and belief, Plaintiff alleges that state defendants

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 1
     were acting or purporting to act in the performance of their official duties.
 2
           226. As a direct and proximate result of state defendants’ actions, Plaintiff
 3
 4   was arrested and or detained without justification and probable cause.
 5         227. As a direct and proximate result of state defendants, while Plaintiff
 6
     was arrested and or detained, state defendants used excessive force without cause
 7
     or reasonable justification.
 8
           228. As a result of the state defendants’ actions, the Plaintiff was harmed.
 9
10         229. On and information and belief, Plaintiff alleges that Defendants’ use
11   of excessive force was a substantial factor in cause Plaintiff’s harm.
12
           230. As a direct and proximate result of the state defendants’ actions,
13
     Plaintiff was deprived of rights, privileges, and immunities under the Eighth and
14
15   Fourteenth Amendment to the United States Constitution and the laws of the State

16   of California.
17         231. Plaintiff alleges the state defendants failed to discipline its employees
18
     for the harm caused to the Plaintiff for the violation of his civil rights, thereby
19
     causing ratifying Defendants' unlawful conduct.
20
21          232. On information and belief, Plaintiff alleges that state defendants have

22   engaged in outrageous conduct, which is oppressive in nature.
23          233. On information and belief, Plaintiff alleges that state defendants’
24
     conduct was intended to cause serious harm to the Plaintiff, or with reckless
25
     disregard for the Plaintiff and Plaintiff's rights.
26
27          234. That as a direct and proximate result of the state defendants’ conduct,
28   and each of them, as described herein, proximately and directly caused Plaintiff to

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 1
     suffer harm.
 2
            235. That the above described wrongful conduct of the state defendants
 3
 4   was malicious, oppressive, and done with the conscious disregard of Plaintiff’s
 5   rights and well being, justifying the imposition of punitive damages and
 6
     exemplary damages in such sum as the trier of fact shall deem appropriate.
 7
                                          COUNT III
 8
                                        NEGLIGENCE
 9
10                             (Against non-state Defendants)
11          236. Plaintiff incorporates herein by this reference each and every
12
     allegation contained in paragraphs 1 through 235 inclusive.
13
            237. On information and belief, Plaintiff alleges non-state defendants had
14
15   a duty imposed by law to act reasonably to avoid foreseeable harm to persons like

16   the plaintiff.
17          238. On information and belief, Plaintiff alleges that he was harmed or
18
     offended by the non-state defendants ’ conduct.
19
            239. On information and belief, Plaintiff alleges that non-state defendants
20
21   have engaged in outrageous conduct, which is oppressive in nature.

22          240. The negligent acts and omissions were the direct and proximate cause
23   of Plaintiff's injuries, damages and losses to the Plaintiff; and, the Plaintiff is
24
     entitled to recover against the non-state defendants for damages caused by their
25
     negligence as set forth in this Complaint.
26
27          241. That the above described wrongful conduct of the non-state
28   defendants was malicious, oppressive, and done with the conscious disregard of

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 1
     Plaintiff’s rights and well being, justifying the imposition of punitive damages and
 2
     exemplary damages in such sum as the trier of fact shall deem appropriate.
 3
 4                                        COUNT IV
 5                             NEGLIGENT SUPERVISION
 6
                               (Against non-state defendants )
 7
           242. Plaintiff realleges and incorporates by reference each and every
 8
     allegation of paragraph 1 through 241 as more fully set forth herein.
 9
10         243. The non-state defendants are required to supervise the actions of its
11   employees and contracting parties.
12
           244. The defendants created an unreasonable risk of harm to the Plaintiff
13
     by failing to adequately supervise, control, or otherwise monitor the activities of
14
15   its employees and agents, LOPEZ and STAGNITTO.

16         245. The non-state defendants caused damages by way of its negligent
17   supervision; and Plaintiff is entitled to recover against defendants for his injuries,
18
     damages and losses caused by defendants' conduct as set forth herein.
19
           246. Non-state defendants acted with oppression, fraud, and malice toward
20
21   Plaintiff, in that they intended to cause injury to Plaintiff; they acted with willful

22   and conscious disregard for the rights and safety of Plaintiff; and the defendant, in
23   its attempt to conceal its conduct, intentionally made misrepresentations,
24
     committed deceit, and concealed material facts with the intention of depriving
25
     Plaintiff of his legal rights and causing him injury.
26
27                                        COUNT V.
28                               NEGLIGENT TRAINING

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 1
                               (Against non-state defendants )
 2
           247. Plaintiff realleges and incorporates by reference each and every
 3
 4   allegation of paragraph 1 through 246 as more fully set forth herein.
 5         248. The non-state defendants are required to supervise the actions of its
 6
     employees and contracting parties.
 7
           249. The defendants created an unreasonable risk of harm to the Plaintiff
 8
     for failing to adequately train its employees, defendants LOPEZ and
 9
10   STAGNITTO.
11         250. The non-state defendants caused injuries, damages and losses to the
12
     Plaintiff by virtue of its negligent training; and, the Plaintiff is entitled to recover
13
     against the non-state defendants for the injuries, damages and losses caused by
14
15   the defendant's conduct as set forth herein.

16         251. In negligently training its officers, the non-state defendants acted
17   with oppression, fraud, and malice toward Plaintiff, in that they intended to cause
18
     injury to Plaintiff; they acted with willful and conscious disregard for the rights
19
     and safety of Plaintiff; and the defendant, in its attempt to conceal its conduct,
20
21   intentionally made misrepresentations, committed deceit, and concealed material

22   facts with the intention of depriving Plaintiff of his legal rights and causing him
23   injury.
24
25
     WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
26
27   them, jointly and severally, as follows:
28             1. For general damages;

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 1
           2. For special damages;
 2
           3. For punitive damages;
 3
 4         4. For all remedies available for compensatory and exemplary damages;
 5         5. For prejudgment interest according to law;
 6
           6. For Plaintiffs’ costs and disbursement in this action, together with
 7
              reasonable attorneys’ fees incurred herein;
 8
           7. For such other and further relief as the Court may deem just and proper.
 9
10         8. Plaintiff demands a Jury Trial.
11
12
     Dated: March 25, 2013                 LAW OFFICE OF GENE H. SHIODA
13
                                     By:         /James A. Kim/
14
                                           Gene H. Shioda
15                                         James Alexander Kim
16
                                           Attorneys for PLAINTIFF PAUL HOA

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                              CERTIFICATE OF SERVICE
Case Name:        P. Hoa vs. M. Cate, et al.                No.      3:12-cv-02078-EMC

I hereby certify that on March 25, 2013, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

SECOND AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR
                    JURY TRIAL

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.

I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on March 25, 2013, at Los Angeles, California.



               Vivian M. Joo                                         /s/ Vivian M. Joo
                 Declarant                                               Signature
